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           EXHIBIT A
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 ACBIZ
                                                                                                           August 28, 2024



a.          ai              ZIMMERMAN

        5              YY,PA 1775;




 Dear Chanelle Renee Zimmerman:

 CBIZ Benefits & Insurance Services, Inc. (“CBIZ”) provides actuarial, administration and investment advisory solutions
 services for organizations, including West Pharmaceutical Services..CBIZ is contacting you on behalf of West
 Pharmaceutical Services to notify you of a data incident that involved some of your information. This letter provides you
 with information about the incident that occurred at CBIZ, our response, and additional measures you can take.

What Happened? On June 24, 2024, we learned that an unauthorized party may have acquired information from certain
databases. We promptly launched   an investigation with theassi       of ind     d                ‘ity pr   ionals. Our
investigation determined that an unauthorized party was able to exploit a vulnerability associated with one of our web
pages, and acquired information from certain databases between June 2, 2024 and June 21, 2024.

What Information Was Involved? We conducted a review of the data acquired and determined that the data included
your name and Social Security number.

What Are We Doing? We are proactively notifying you ofthis incident and assure you we take this matter very seriously.
We have fixed the vulnerability and implemented measures to further enhance the security of our systems, and we are
working closely with law enforcement.

What Can You Do? We have secured the services of Kroll to provide identity monitoring at no cost to you for two
years. The identity monitoring services we are making available include Credit Monitoring, Fraud Consultation, and
Identity Theft Restoration. For more information on identity theft prevention and Kroll Identity Monitoring, including
instructions on how to activate your complimentary membership, please visit the website below and see the pages that
follow this letter.

     Visit https://enroll.krollmonitoring.com to activate and take advantage of your identity monitoring services.
     You have until November 22, 2024 to activate your identity monitoring services
     Membership Number:

For more information about Kroll and the identity monitoring services, you can visit info.krollmonitoring.com.
Additional information describing your services is included with this letter.

We regret that this occurred and apologize for any inconvenience. If you have any questions, you may call our dedicated
response line at 1-866-997-7169, Monday through Friday from 9:00 a.m. to 6:30 p.m. Eastern time (excluding U.S. holidays).
Sincerely,

CBIZ Benefits & Insurance Services, Inc.




                                                                                                                   ELN.22604   -2666
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                                                                    KROLL
                             TAKE ADVANTAGE OF YOUR IDENTITY MONITORING SERVICES
                                 You have been provided with access to the following services from Kroll:
Single Bureau Credit Monitoring
You will receive alerts when there are changes to your credit data—for instance, when a new line of credit is applied for
in your name. If you do not recognize the activity, you’ll have the option to call a Kroll fraud specialist, who will be able
to help you determine if it is an indicator of identity theft.

Fraud Consultation
You have unlimited access to consultation with a Kroll fraud specialist. Support includes showing you themost effective
ways to protect your identity, explaining your rights and protections under the law, assistance with fraud alerts, and
interpreting how personal information is accessed and used, including investigating suspicious activity that could be tied
to an identity theft event.
Identity Theft Restoration
If you becomeavictim of identity theft, an experienced Kroll licensed investigator will work on your behalf to resolve
related issues. You will have access to a dedicated investigator who understands your issues and can do most of the work
for you. Your investigator will be able to dig deep to uncover the scope of the identity theft, and then’ work to resolve it.

Kroll’s activation website   isonly compatible with the current version or one version eailier of Chrome, Firefox, Safari and Edge.
To receive creditServices, you must be over the    age  of 18and have established creditin the U.S., have aSocial Sedurity nubét iin your name, and have aUS.
residential address associated with your credit file,
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                                        ADDITIONAL STEPS YOU CAN TAKE
 We remind you it is always advisable to be vigilant for incidents of fraud or identity theft by reviewing your account
 statements and free credit reports for any unauthorized activity. You may obtain a copy of your credit report, free of
 charge, once every 12 months from each. of the three nationwide credit reporting companies. To order your annual free
 credit report, please visit www.annualcreditreport.com or call toll free at 1-877-322-8228. Contact information for the
 three nationwide credit reporting companies is as follows:

        e   Equifax, PO Box 740241, Atlanta, GA 30374, www.equifax.com, 1-888-378-4329
        ¢   Experian, PO Box 2002, Allen, TX 75013, www.experian.com, 1-888-397-3742
        e   TransUnion, PO Box 1000, Chester, PA 19016, www.transunion.com, 1-800-916-8800

If you believe you are the victim of identity theft or have reason to believe your personal information has been misused,
you should immediately contact the Federal Trade Commission and/or the Attorney General’s office in your state. You
can obtain information from these sources about steps an individual can take to avoid identity theft as well as information
about fraud alerts and security freezes. You should also contact your local law enforcement authorities and file a police
report. Obtain a copy of the police report in case you are asked to provide copies to creditors to correct your records.
Contact information for the Federal Trade Commission is as follows:

     © Federal Trade Commission, Consumer Response Center, 600 Pennsylvania Avénue NW, Washington, DC
       20580, 1-877-IDTHEFT (438-4338), www.identitytheft.gov

Fraud Alerts and Credit or Security Freezes:
Fraud Alerts: There are two types of general fraud alerts you can place on your credit report to put your creditors on
notice that you may be a victim of fraud—an initial alert and an extended alert. You may ask that an initial fraud alert be
placed on your credit report if you suspect you have been, or are about to be, a victim of identity theft. An initial fraud
alert stays on your credit report for one year. You may have an extended alert placed on your credit report if you have
already been a victim of identity theft with the appropriate documentary proof. An extended fraud alert stays on your
credit report for seven years.

To place a fraud alert on your credit reports, contact one ofthe nationwide credit bureaus. A fraud alert is free. The credit
bureau you contact must tell the other two, and all three will place an alert on their versions of your report.

For those in the military who want to protect their credit while deployed, an Active Duty Military Fraud Alert lasts for
one year and can be renewed for the length of your deployment. The credit bureaus will also take you off their marketing
lists for pre-screened credit card offers for two years, unless you ask them not to.

Credit orSecurity Freezes: You have the right to put a credit freeze, also known as a security freeze, on your credit file,
free ofcharge, which makes it more difficult for identity thieves to open new accounts in your name. That is because most
creditors need to’see your credit report before they approve a new account.   Ifthey cannot see your report, they may not
extend the credit.

            I
How do place a freeze on my credit reports? There is no fee to place or lift a security freeze. Unlike a fraud alert,
you must separately place a security freeze on your credit file at each credit reporting company. For information and
instructions to place a security freeze, contact each of the credit reporting agencies at the addresses below:
    e       Equifax Security Freeze, PO Box 105788, Atlanta, GA 30348, www.equifax.com
    e       Experian Security Freeze, PO Box 9554, Allen, TX 75013, www.experian.com
    ¢       TransUnion Security Freeze, PO Box 160, Woodlyn, PA 19094, www.transunion.com
You will need to supply your name, address, date of birth, Social Security number and other personal information.
After receiving: your freeze request, each credit bureau will provide you with a unique PIN (personal identification
number) or password. Keep the PIN or password in a safe place. You will need it if you choose to lift the freeze.

How doI  lift a freeze? A freeze remains in place until you ask the credit bureau to temporarily lift it or remove it
          If the request is made online or by phone, a credit bureau must lift.a freeze within one hour. If the request is
altogether.
made by mail, then the bureau must lift the freeze no later than three business days after getting your request.

If you opt for a temporary lift because you are applying for credit or a job, and you can find out which credit bureau
the business will contact for your file, you can save some time by lifting the freeze only at that particular credit bureau.
Otherwise, you need to make the request with all three credit bureaus.
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The business address for CBIZ Benefits & Insurance Services, Inc. is 1845 Walnut Street, 10th Floor, Philadelphia, PA
19103 and it can be reached by telephone at (800) 404-6033.

                                  iti     i        ‘ion for          of the followin:
                                                              residents                     ¢
Connecticut: You may contact and obtain information from your state attorney general at: Connecticut Attorney General s
Office, 165 Capitol Ave, Hartford, CT 06106, 1-860-808-5318,
District of Columbia: You may contact and obtain information from your attorney general at: Office of the Attorney
General for the District of Columbia, 441 4th Street NW, Washington, DC 20001, 1-202-727-3400, www.oag.de.gov

Maryland: You may contact and obtain information from your state attorney general at: Maryland Attorney General's
Office, 200 St. Paul Place, Baltimore, MD 21202, 1-888-743-0023 / 1-410-576-6300, www,marylandattorneygeneral.gov

Massachusetts: Under Massachusetts law, you have the right to file and obtain a copy of a police report. You also
have the right to request a security freeze, as described above. You may contact and obtain information from your
state attorney general at: Office of the Massachiusetts Attorney General, One Ashburton Place, Boston, MA 02108,
1-617-727-8400, www.mass.gov/ago/contact-us. html

New York: You may contact and obtain information from these state agencies: New York Department of State Division
of C         Pi          One C           Plaza, 99 Washi         Ave., Albany, NY 12231-0001, 518-474-8583 /
1-800-697-1220, http:/Awww.dos.ny.gov/consumerprotection; and New York State Office of the Attorney General,
The Capitol, Albany, NY 12224-0341, 1-800-771-7755, https://ag.ny.gov

North Carolina: You may contact and obtain information from your state attorney general at: North Carolina Attorney
General’s Office, 9001 Mail Service Centre, Raleigh, NC 27699, 1-919-716-6000 / 1-877-566-7226, www.ncdoj.gov

Rhode Island: This incident involves 30 individuals in Rhode Island. Under Rhode Island law, you have the right to file
and obtain a copy of a police report. You also have the right to request a security freeze, as described above. You may
contact and obtain information from your state attorney general at: Rhode Island Attorney General's Office, 150 South
Main Street, Providence, RI 02903, 1-401-274-4400, www.tiag.ri.gov

West Virginia: You have the right to ask that nationwide consumer reporting agencies place “fraud alerts” in your file
to let potential creditors and others know that you may be a victim of identity theft, as described above. You also have a
right to place a security freeze on your credit report, as described above.

A Summary of Your Rights Under the Fair Credit Reporting Act: The federal Fair Credit Reporting Act (FCRA)
promotes the accuracy, fairness, and privacy of information in the files of consumer reporting agencies. There are
many types of consumer reporting agencies, including credit bureaus and specialty agencies (such as agencies that sell
information about check writing histories, medical records, and rental history records). Your major rights under the FCRA
are summarized below. For more information, including information about additional rights, go to www.consumerfinance.
gov/learnmore or write to: Consumer Financial Protection Bureau, 1700 G Street N-W., Washington, DC 20552.

    e   You must be told if information in your file has been used against you.
    e   You have the right’to know what is in your file.
    e   You have the right to ask for a credit score.
    e   You have the right to dispute incomplete or inaccurate information.
    e   Consumer reporting agencies must correct or delete inaccurate, incomplete, or unverifiable information.
    e   Consumer reporting agencies may not report outdated negative information.
    e   Access to your file is limited.
    e   You must give your consent for reports to be provided to employers.
    e    You'may limit “prescreened” offers of credit and insurance you get based on‘information in your credit report.

    © Yoii have aright to place a “security freeze” on your credit report, which will prohibit a consumer reporting
        agency from releasing information in your credit report without your express authorization:
    e    You'may seek damages from violators.

    ¢   Identity theft victims and active-duty military personnel have additional rights.
